                                          IN THE
                               UNITED STATES DISTRICT COURT
                                         FOR THE
                               WESTERN DISTRICT OF VIRGINIA
                                    DANVILLE DIVISION

  UNITED STATES OF AMERICA                     )
                                               )
         v.                                    )       Criminal No. 4:18-cr-00012
                                               )
  DASHAWN ANTHONY                              )
      Et al.                                   )

                 UNITED STATES’ NOTICE OF ADDITIONAL DISCOVERY

         The United States respectfully provides this notice to the Court of additional discovery

  items provided to Discovery Counsel on June 10, 2019. The contents of that discovery and the

  grounds for this Notice are as follows:

         1.      This Court ordered the government to “substantially complete all pretrial discovery

  by April 1, 2019.” Third Amended Scheduling Order, ECF No. 275, ¶ 2. As the Order reflects

  and this Court has recognized orally at various status hearings, criminal discovery can be an

  ongoing process. Even though the Order does not require all discovery by the April 1 deadline,

  the government has treated the Order as if it did, and worked to disclose all discovery and Jencks

  materials before that date. Some of those efforts have been discussed at prior hearings. E.g.,

  Minute Entry, ECF Nos. 136, 200.

         2.      As detailed in a prior Notice of Additional Discovery, on April 4, 2019 (ECF No.

  294), the United States provided what it believed to the last of its discovery and had repeatedly

  been assured by the Federal Bureau of Investigation that the discovery was complete. Despite

  these representations, the United States has made supplemental discovery disclosures to Discovery



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  Counsel after the April 1 deadline and has provided notice to the Court of these supplemental

  filings. To assure the Court that it believed discovery was then complete, at the last April status

  hearing, the United States requested the appearance of the FBI Senior Supervisory Special Agent

  responsible for this investigation.

         3.      On June 7, 2019, a co-conspirator pled guilty in this case. The next business day,

  on June 10, 2019, the United States disclosed to Discovery Counsel its Production 18, which is

  comprised of eleven documents. Ten documents are the Jencks and Giglio materials related to

  this co-conspirator. The final document is a two-page FBI report reflecting the creation of a

  cellphone trial exhibit and is not, technically, discovery.

         4.      The release of these documents almost eight months before trial does not prejudice

  the defendants. As has been its policy, the government will alert the Court by similar notice of

  any additional discovery.

         WHEREFORE, the United States hereby respectfully provides the Court with notice of

  additional discovery.


                                                 Respectfully submitted,

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  DATED: June 11, 2019




                                        CERTIFICATE

         I hereby certify that a true and correct copy of the foregoing has been electronically filed

  with the Clerk by CM/ECF system, which will send notification of such filing to all counsel of

  record, on this 11th day of June, 2019.

                                                      s/Heather L. Carlton




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